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                IN THE UNITED STATES DISTRICT COURT FOR THE

                             DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                        8:04CR262
                              )
          v.                  )
                              )
BRANDY K. BRENTON,            )                  MEMORANDUM OPINION
                              )
               Defendant.     )
______________________________)


            This matter is before the Court on defendant’s motion

filed pursuant to Title 28, United States Code, § 2255, to

vacate, set aside or correct her sentence (Filing No. 140).

Subsequent to the filing of this motion, this case was

transferred from the docket of the Honorable Laurie Smith Camp to

the undersigned.        The Court has previously found that the

defendant’s § 2255 motion has been timely filed and ordered

briefing by the parties.

            Ths Court has now reviewed the following materials:

defendant’s motion (Filing No. 140), the supporting briefs

(Filing Nos. 142 and 167), the government’s response (Filing No.

159), and the government’s brief and index of evidence (Filing

Nos. 160 and 161).        The Court has also reviewed the transcript of

the trial (Filing Nos. 99-105, inclusive), and has reviewed the

Court’s charge to the jury (Filing No. 74).              In addition, the

Court has reviewed the briefs of the parties filed with the
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United States Court of Appeals for the Eighth Circuit and the

decision of that Court (Filing No. 119).

                        CLAIMS OF THE DEFENDANT

            In her § 2255 motion, the defendant sets forth the

following sixteen grounds as the basis for that motion:

                  I. Petitioner was denied her right
                  of appeal under the Fifth and Sixth
                  Amendments by the Eighth Circuit
                  refusing to remove former-trial
                  counsel from representation of
                  Petitioner on Appeal for conflict
                  of interest, upon Petitioner’s
                  motions to do so.

                  II. The Panels decision to accept
                  Pro-se supplemental briefing from
                  petitioner, then never reach a
                  factual determination between
                  Hunter B. Sadle’s brief, which held
                  petitioner responsible for the
                  defense continuances and
                  petitioners brief, which documented
                  petitioner was not responsible for
                  the delays robbed petitioner of her
                  right of direct appeal under the
                  Fifth and Sixth amendment(s) of the
                  United States constitution.

                  III. The decision of the panel did
                  not reach the constitutional
                  directives set forth by the Supreme
                  Court on review of appeals on their
                  merits, which allows review of all
                  issues that should have been
                  reviewed De Nova, to now be
                  reviewed in this 28 U.S.C. § 2255
                  Petition.

                  IV. Judge Smith-Camp violated
                  petitioner’s substantive and due
                  process of law rights under the
                  Fifth Amendment of the United
                  States constitution by not

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                  conducting a constitutionally
                  correct hearing into the matter,
                  once, petitioner noticed the court
                  pursuant to Rule 44(c) of the
                  Federal Rules of Criminal
                  Procedure, that attorney Davis was
                  making materially false statements
                  to the court, that created an
                  irreconcilable ongoing conflict of
                  interest with petitioner, pre and
                  post trial, via the new trial
                  motion, and lastly at the
                  sentencing of petitioner on July
                  27th, 2005.

                  V. Petitioner’s conviction must be
                  reversed due to the wrongful denial
                  of trial counsel of choice Michael
                  Barth of Burlington, Wisconsin,
                  upon the due process of law clause
                  of the Fifth Amendment and the
                  Sixth Amendment right to counsel of
                  choice structural error doctrine.

                  VI. The 5 Kilogram conspiracy
                  objective of Count I was
                  constructively amended through jury
                  instruction No. 14, and the related
                  special verdict form, to deprive
                  the petitioner of her Fifth
                  Amendment due process of law right
                  to a general verdict of not guilty
                  or guilty as charged by the Grand
                  Jury.

                  VII. Jury instructions no. 14, 15,
                  impermissible constructively
                  amended the indictment against
                  petitioner in violation of the
                  petitioner’s substantive and
                  procedural due process of law right
                  under the Fifth Amendment of the
                  United States constitution.

                  VIII. The Double jeopardy
                  provision(s) of the United States
                  constitution forbids retrial of
                  petitioner upon the petite jury’s

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                  implicit acquittal of petitioner
                  via the special verdict form
                  stating petitioner did not possess
                  5 kilograms that was required for a
                  conviction as to Count I. as
                  charged in the indictment by the
                  Grand Jury.

                  IX. Petitioner’s due process of
                  law Fifth Amendment right to an
                  open and public fair trial, to
                  present her defenses was violated
                  by the ineffective actions of trial
                  counsel Hunter B. Sadle’s failure
                  to request the simple possession
                  jury instruction under 28 U.S.C.
                  § 844 and/or buyer-seller
                  instructions.

                  X. Attorney Sadle’s failure to
                  present any documentary evidence
                  and/or related doctor’s testimony
                  to support his closing argument of
                  simple possession, rendered him
                  ineffective to the point,
                  petitioner had no defense once
                  A.U.S.A. Stecher pointed out the
                  jury (other than petitioner’s self-
                  serving statement, when confronted
                  with the cocaine by the arresting
                  officers) the defense did not
                  present any evidence to support
                  that defense or any evidence to
                  support, that even a car accident
                  took place, injuring petitioner,
                  much less that the cocaine was used
                  for the purpose of self-medication,
                  as alleged by petitioner.

                  XI. Trial counsel Sadle was
                  ineffective for not interviewing
                  and/or calling alibi witnesses of
                  petitioner (supplied to him by
                  petitioner prior to trial) to
                  support a finding of not guilty to
                  Counts I. and II. of the indictment
                  and/or to establish that the amount
                  of drugs transacted during the

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                  course of the conspiracy referenced
                  in Count I. did not reach the 500
                  gram level to trigger the
                  imposition of 5 years mandatory
                  minimum sentence, imposed upon the
                  petitioner at time of sentencing.

                  XII. Trial counsel Davis and Sadle
                  were ineffective for failing to
                  contact Sherry F. Brenton, the
                  mother of petitioner, to verify,
                  Sherry Brenton had standing policy
                  against warrantless search of her
                  home and to verify that fact
                  Jeffery Faubus had no authority to
                  allow a search, to file a related
                  motion to suppress evidence and
                  related testimony at trial.

                  XIII. Attorney Sadle’s requirement
                  that the petitioner not take the
                  stand to testify in aid of her
                  alibi, simple possession and buyer-
                  seller defenses violated
                  petitioner’s due process of law
                  right under the Fifth Amendment and
                  her right to be heard in open court
                  under the Sixth Amendment of the
                  United States constitution.

                  XIV. Judge Smith-Camp’s
                  predisposition to the United States
                  Sentencing Guidelines that prohibit
                  a downward departure for those who
                  proceed to trial to display that
                  their conduct did not reach the
                  mandatory minimum level of drug
                  possession and/or distribution to
                  trigger a mandatory minimum
                  sentence, from those who enter a
                  plea allowing the government court
                  to allow a application of
                  acceptance of responsibility 2
                  level reduction under the U.S.S.G.
                  under the lesser standard than
                  beyond a reasonable doubt violates
                  the equal protection clause of the
                  United States constitution.

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                  XV. Trial appellant counsel Hunter
                  B. Sadle was ineffective for
                  advising petitioner to reject the
                  government’s plea offer that
                  exposed petitioner to a 10 to 16
                  month of incarceration, pursuant to
                  a Rule 11(c)(1)(C) plea.

                  XVI. Trial-Appellant counsel
                  Hunter B. Sadle cumulative errors
                  pre-trial, at trial and sentencing
                  and in direct appeal of
                  petitioner’s conviction were
                  ineffective under the Strickland
                  standard as if petitioner had no
                  counsel at all as defined by the
                  Sixth Amendment of the United
                  States Constitution.

(Verbatim from defendant’s motion.)

                              DISCUSSION

            Grounds 1 through 8, inclusive, and Ground 14 were all

raised in defendant’s direct appeal to the United States Court of

Appeals for the Eighth Circuit from her conviction and sentence,

or were the subject of the defendant’s petition for writ of

certiorari to the United States Supreme Court.              Each of these

grounds were found to be without merit by the Court of Appeals,

and as to Grounds 1-4, were rejected by the decision of the

United States Supreme Court denying certiorari.

            In Bear Stops v. United States, 339 F.3d 778 (8th Cir.

2003), the United States Court of Appeals for the Eighth Circuit

stated at Page 780 “‘[I]t is well settled that claims which were

raised and decided on direct appeal cannot be relitigated on a



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motion to vacate pursuant to 28 U.S.C. § 2255.’              United States v.

Shavazz, 657 F.2d 189, 190 (8th Cir. 1981).”

            A number of these claims are issues which plaintiff

identifies as ineffective assistance of counsel.               The United

States Supreme Court has long recognized that the Sixth Amendment

right to counsel is necessary to protect the fundamental right to

a fair trial.     Strickland v. Washington, 466 U.S. 668, 684

(1984).    This right to counsel is “the right to effective

assistance of counsel.”       Id. at 686 (quoting McMann v.

Richardson, 397 U.S. 759, 771, n. 14 (1970)).              An ineffective

assistance of counsel claim has two components: (1) the defendant

must show that counsel’s performance was deficient; and (2) the

defendant must show that the deficient performance prejudiced the

defense.    Strickland, 466 U.S. at 687.

            To demonstrate prejudice, a defendant must show that

“counsel’s errors were so serious as to deprive the defendant of

a fair trial, a trial whose result is reliable.”               Id. at 687.

The Supreme Court has stated that “[i]t is not enough for the

defendant to show that the errors had some conceivable effect on

the outcome of the proceeding.”         Id. at 693.      Rather, the

defendant must show that “there is a reasonable probability that,

but for counsel’s unprofessional errors, the result of the

proceeding would have been different.           A reasonable probability

is a probability sufficient to undermine confidence in the


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outcome.”    Id. at 694.      The Court must ask whether a reasonable

probability exists that absent the errors, the factfinder would

have a reasonable doubt respecting guilt, based upon the totality

of the evidence.        Id. at 695.

            In Claims 9 and 10, she alleges her counsel’s actions

were ineffective because he did not seek an instruction on simple

possession or on buyer-seller relationship.               The defendant was

charged in a two-count indictment.            Count I charged a conspiracy

to distribute or possess with intent to distribute cocaine in

violation of Title 21, United States Code, § 846, and Count II

charged the defendant with possession with intent to distribute

cocaine, in violation of Title 21, United States Code, §

841(a)(1) and (b)(1).       It was the government’s burden to prove

the elements of either or both Count I and Count II beyond a

reasonable doubt.

            The Court has reviewed the instructions given by Judge

Smith Camp, and it was clear that the jury was properly

instructed on the elements of the two crimes charged.

            It is also clear from the instruction given that if the

jury found that defendant simply possessed the drugs for her own

use, then the government failed in its proof of the elements of

the crime charged in Count I or Count II, and they would have

been required to return a verdict of not guilty.                 She either was

involved in a conspiracy to possess with intent to distribute, or


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involved in the actual possession with intent to distribute, and

the instructions made it clear that those elements must be found

before the defendant could be found guilty of either or both of

the two counts.     The evidence was overwhelming that she was

involved in the conspiracy charged, and this defense that she was

simply a user was adequately presented in Instruction No. 10.

Ground 9 is without merit and will be denied.

            Similarly Ground 10 is without merit.            The evidence

presented established that she possessed and dealt over 500 grams

of cocaine.    The claim that she was in an accident and self-

medicated with cocaine does not account for this quantity or

refute the testimony dealing with the scope and extent of this

conspiracy.    This claimed evidence does not create a probability

but for this claimed error, the result would have been different.

Accordingly, her claim as based on Ground 10 will be denied.

            In Ground 11, defendant claims that her counsel was

ineffective for failing to interview or call alibi witnesses.

The record is unclear as to what their testimony would be other

than references to times she would be absent from Omaha.                 These

absences were very few and were for short periods of time, two or

three days, during the period of the conspiracy.               Jared Welsh

admitted to that during his testimony, and he also testified that

he had overstated the amount of cocaine he had purchased from the

defendant.    The proposed evidence would not have refuted Mr.


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 Welsh’s testimony and, at best, would have been cumulative as it

 relates to her being out of town for a few short periods.                 The

 Court finds that this claim of the defendant does not rise to a

 level that would justify the Court in finding that the results of

 this trial would have been any different if that evidence had

 been pursued in more detail.        Accordingly, the motion as based on

 Ground 11 will be denied.

            Ground 12 deals primarily with her claim that the

 search of her mother’s house was a warrantless search and this

 should have been attacked by her counsel.            While it was a

 warrantless search, the evidence is clear (See Exhibit 4 to

 Filing No. 142) that the officers did obtain permission to search

 the premises.    The defendant who resided in the premises,

 although it was owned by her mother, gave consent, and her

 brother who was taking care of the home in her mother’s absence,

 also gave consent.     In addition, no evidence that was seized

 during that search was introduced at trial.             For these reasons,

 the Court finds that this evidence was immaterial, and this claim

 will be denied.

            In Ground 13, she claims that Mr. Sadle required that

 she not take the stand to testify in aid of her alibi of simple

 possession and buyer-seller defenses.           Mr. Sadle has submitted an

 affidavit (Filing No. 161-2) in which he stated that in

 “preparation for trial, I advised Ms. Brenton of her right to


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 testify.   After discussing the matter, Ms. Brenton specifically

 told me she did not want to testify.           Had she informed me she

 wanted to testify, I would have called her as a witness.”                 The

 Court is satisfied that her claim that her attorney refused to

 let her testify is without merit.          The decision that she not

 testify was her decision and, accordingly, Ground 13 will be

 denied.

            Ground 14 charges that “Judge Smith Camp had a

 predisposition to the United States Sentencing Guidelines that

 prohibit a downward departure for those who proceed to trial to

 display that their conduct did not reach the mandatory minimum

 level of drug possession and/or distribution to trigger a

 mandatory minimum sentence.”        Defendant’s claim appears to be

 based on a statement made to her by Mr. Davis that Judge Smith

 Camp tends to follow the guidelines in imposing sentences on

 cocaine distribution.      There is no evidence in this record, nor

 has defendant offered any, that would suggest that such a

 predisposition existed.      Such a ground, if it had any merit,

 should have been raised on appeal, and it was not.               This ground

 will be denied.

            In Ground 15, she claims that her counsel was

 ineffective for advising her to reject the government’s plea

 agreement that exposed defendant to a ten to sixteen month

 incarceration pursuant to a Rule 11(c)(1)(C) plea.               The affidavit


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 of Mr. Sadle rejects this contention.           In his affidavit (Filing

 No. 161-2), Mr. Sadle stated that the government made a verbal

 plea offer in exchange for Ms. Brenton’s pleading guilty to Count

 II of the indictment, charging her with possession with intent to

 distribute less than 500 grams of cocaine, and in exchange, the

 government would dismiss Count I.          He further stated that the

 defendant rejected this offer and stated she “wanted her day in

 court.”   This position is also supported by the transcript of a

 hearing held on March 29, 2005 (Filing No. 100).              By the time of

 trial, the government was apparently still willing to make this

 offer, except the amount of cocaine would have to be left to the

 determination of the district judge.           For these reasons, this

 claim does not rise to ineffective assistance of counsel and will

 be denied.

            Finally, Ground 16 is a catch-all raising no specific

 grounds but generally claiming defendant did not get a fair

 trial; that the cumulative errors, pretrial, at trial and

 sentence and direct appeal of her conviction, were ineffective

 under the Strickland standard.        However, the Court has reviewed

 the trial transcript, reviewed the briefs, all of the supporting

 documents that have been submitted by both defendant and the

 government, and finds that the record does not support this

 claim.




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            Applying the Strickland standard, the Court finds that

 the claimed errors of counsel fail to establish that counsel’s

 performance was deficient.         For all of the foregoing reasons, the

 Court finds that defendant’s motion filed pursuant to 28 U.S.C. §

 2255 should be denied.      A separate order will be entered in

 accordance with this memorandum opinion.

            DATED this 1st day of April, 2009.

                                      BY THE COURT:

                                      /s/ Lyle E. Strom
                                      _________________________________
                                         LYLE E. STROM, Senior Judge
                                         United States District Court




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